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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT
__________________________________________
                                           )
CONSTANCE E. BAGLEY,                       )
                                           )
            Plaintiff                      )
                                           )
      v.                                   ) Civil Action No. 3:13-cv-01890 (CSH)
                                           )
YALE UNIVERSITY, DOUGLAS                   )
RAE, EDWARD SNYDER, AND                    )
ANDREW METRICK, Individually,              )
                                           )
            Defendants.                    )
__________________________________________)

     PLAINTIFF’S MEMORANDUM IN SUPPORT OF HER MOTION TO COMPEL
          DEFENDANT YALE UNIVERSITY TO PRODUCE DOCUMENTS

         Plaintiff Constance E. Bagley (“Plaintiff” or “Professor Bagley”) filed this action

alleging, among other claims, discrimination and retaliation following Defendant Yale

University’s (“Defendant” or “Yale”) decision to deny her reappointment as a Professor in the

Practice (“PIP”) at its School of Management (“SOM”). As the facts and circumstances of the

case are fully stated in the Court’s decisions (Haight, Senior District Judge) granting in part and

denying in part Defendants’ motion to dismiss the complaint, 42 F. Supp. 3d 332 (D. Conn.

2014), and denying Plaintiff’s motion for a preliminary injunction, 2014 WL 7370021 (D. Conn.

Dec. 29, 2014), Plaintiff assumes the Court’s familiarity with the relevant background for this

pre-trial discovery dispute.

         At issue in this motion is Yale’s refusal to produce documents that constitute discovery of

comparator evidence, including baseline data (for example, Professor Bagley’s own complete

personnel file1), the personnel files of eight potential comparators2, and all comparative data


1
 For purposes of this Motion, “personnel file” includes all “papers, documents and reports pertaining to a particular
employee which are used or have been used by an employer to determine such employee’s eligibility for

                                                          1
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related to the activities associated with the appointment or reappoint of a PIP within the SOM,

and the role of the Board of Permanent Officers (BPO) in that process. These documents include

Committee Reports and Recommendations, communications within the SOM regarding each

individual’s initial appointment or subsequent reappointment, BPO notes, BPO votes, BPO

meeting minutes pertaining to the appointment and reappointment of PIPs, email exchanges

between and among SOM Deans and BPO members regarding each PIP’s appointment or

reappointment, and communications with the Office of the Provost (or other Yale offices or

departments) pertaining to each candidate’s appointment or reappointment at the SOM. In

addition, comparable information (including personnel files) of Ian Shapiro and David Bach, the

two younger and less experienced males who replaced Professor Bagley as members of the SOM

faculty, and Kyle Jensen, a male who was hired for an entrepreneurship program position for

which Connie applied and was qualified, are equally relevant. Professor Bagley’s need for

discovery of these materials to rebut Yale’s alleged non-discriminatory motive for not renewing

her appointment, together with the confidentiality agreement already in place, outweighs any

privacy interests at issue.3 Attached as Exhibit A to this Motion and Memorandum is a list of the



employment, promotion, additional compensation, transfer, termination, disciplinary or other adverse personnel
action including employee evaluations or reports relating to such employee’s character, credit and work habits.” See
Connecticut Personnel Files Act, Conn. Rev. Stat. § 31-128a(3).
2
 Professor Bagley’s comparators are the following individuals, who are or were employed as PIPs at the SOM
beginning in 1983 (with the appointment of Stanley Garska) to the present: Frank Fabozzi, Jeffrey Garten, Stanley
Garstka, Roger Ibbotson, Thomas Kolditz, Loretta Mester, Rakesh Mohan, and Jeffrey Sonnenfeld. In addition,
Professor Bagley was replaced with two males on the faculty of the SOM, Ian Shapiro and David Bach, and was
overlooked for a position that was given to Kyle Jensen, and their comparative data is equally relevant to her claims.
3
 Yale has nonetheless cherry picked and produced a random scattering of select documents from comparator files.
For example, (1) Professor Stanley Garstka’s 1983 offer letter, with salary information, and his memorandum
accepting a five-year appointment; (2) a January 1992 memorandum regarding Garstka’s renewal review, with
handwritten notes; (3) an April 2002 document reflecting the vote taken at a meeting of the Yale Corporation to
appoint Garstka for a five-year term (4) Professor Rakesh’s 2009 offer letter, with salary information, and
appointment committee report; and (5) Professor Kolditz’s May 2012 offer letter, with salary information, and
appointment committee report.


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     sought after documents.

I.         ARGUMENT

               While Yale has produced some documents in response to Professor Bagley’s discovery

     requests, a substantial portion of its production consists of duplicates. Critical e-mail exchanges

     between then-Provost Peter Salovey and Deputy Provost Frances Rosenbluth regarding Professor

     Bagley’s renewal—including one dated April 28, 2012, in which Rosenbluth told Salovey that

     Deans Snyder and Metrick “are not sure about wanting to renew Connie Bagley as Professor in

     the Practice” since “she started worrying and threatening legal action,” and another dated May 8,

     2012 (the day after the negative BPO vote), in which Rosenbluth asked Salovey if there is “some

     other position for [Professor Bagley] at Yale where she would be valued” and Salovey responded

     “[n]ot if she is threatening legal action”—were not produced until after the Court denied the

     Defendants’ motion to halt all further electronic discovery and after the depositions of Deans

     Snyder and Metrick.4 Other documents, some of which this Court requires be produced without

     objection, have not been produced at all.

               On March 21, 2014, following a telephone conference in which Yale’s counsel

     participated, the Court ordered the parties to this action to “follow this district’s ‘Initial

     Discovery Protocols for Employment Cases Alleging Adverse Action.’” See Dkt. No. 30. The

     Protocols require defendants to employment actions, such as this, to produce “[t]he plaintiff’s

     personnel file, in any form, maintained by the defendant, including files concerning the plaintiff

     maintained by the plaintiffs [sic] supervisor(s), manager(s), or the defendant’s human resources

     representative(s), irrespective of the relevant time period.” See Protocols, at 4(d). The Protocols

     also require defendants to produce plaintiffs’ performance evaluations. See Protocols, at 4(e).

               In her First Request for Production of Documents, which was served on Yale’s counsel
     4
         The e-mails were produced as YU015737-38 and YU015803-04.

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on July 8, 2014, Professor Bagley made clear that her “request is intended to supplement, and not

replace, the document production expressly mandated by the [Protocols] endorsed by the Court

in this action.” See Exhibit B. Professor Bagley reiterated Yale’s obligation to comply with this

Court’s Protocols in her Second Request for Production of Documents, which was served on

Yale on January 14, 2015. See Exhibit C. However, Yale still has not yet produced her

complete personnel file.

         Because one of the central issues in this case is whether Professor Bagley was treated

differently from other PIPs (and was replaced by younger, less experienced, males), Professor

Bagley requested “[t]he complete personnel file of any individual appointed to the rank of

Professor in the Practice at Yale SOM, including any meeting minutes, notes, ballots, or other

data relating to any meeting of the BPO at which a discussion or vote of appointment renewal

occurred.” See Pl.’s Document Request No. 47, Exhibit D.5 Yale responded as follows:

         See general objections. Defendants also object to this request on the ground that it is
         overbroad, burdensome, unlimited in scope of time, and is not designed to lead to the
         discovery of relevant, admissible evidence. In addition, compliance with this request
         would violate the provisions of Conn. Gen. Stat. §31-128f, which prohibits the disclosure
         of personnel information without the consent of the employee, and would violate the
         privacy interests of persons or [sic] not parties to this litigation.

         Despite multiple requests and the undeniable relevance of the personnel files and

comparative data to the claims and defenses in this case, Yale continues to refuse disclosure.

Professor Bagley’s counsel attempted to narrow the scope of her requests and also agreed to

reasonable redactions of highly sensitive information and irrelevant personal data, but Yale still

has not changed its position. See Exhibit E, April 10, 2015 e-mail from Matt Geelan to Emily

Nelson (“Even though the plaintiff has narrowed this request, it nonetheless seeks private


5
  The temporal scope of this request was originally limited to January of 2006 through the present, but it now
includes 1983 to present because Stanley Garstka received his initial appointment in 1983 and has enjoyed
numerous “reappointments,” including reappointment in 2014.

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information about individuals who are not parties to this lawsuit. As a result, Yale believes that

it needs to protect this information. In addition, the request is overly broad and burdensome.”).6

    A. The Scope of Discovery is Broad in Employment Cases

        “[T]he scope of discovery under Fed. R. Civ. P. 26(b) is very broad, ‘encompass[ing] any

matter that bears on, or that reasonably could lead to another matter that could bear on, any issue

that is or maybe in the case.’” Maresco v. Evans Chemetics, Div. of W.R. Grace & Co., 964 F.2d

106, 114 (2d Cir. 1992) (quoting Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351(1978)).

This principle guides discovery in all cases and must be brought to bear with particular force

when a plaintiff’s allegations involve employment discrimination and retaliation. See E.E.O.C.

v. Beauty Enterprises, Inc., Civ. No. 3:01CV378(AHN), 2008 WL 3359353, at *1-*2 (D. Conn.

Aug. 8, 2008) (“with regard to discrimination claims …the imposition of unnecessary discovery

limitations is to be avoided … Blanket objections” to discovery requests as “‘overly broad or

unduly burdensome’ or providing a few scattered documents from files do not amount to

adequate and complete responses based on the liberal discovery standard in employment cases”).

        “[T]he necessity for liberal discovery to clarify complex issues encountered in litigation

seeking to redress employment discrimination has been widely recognized,” Lyoch v. Anheuser-

Busch, Inc., 164 F.R.D. 62,65 (E.D. Mo. 1995), “[b]ecause employers rarely leave a paper trail—

or “smoking gun”—attesting to discriminatory intent.” See Hollander v. Am. Cyanamid Co., 895

F.2d 80, 85 (2d Cir. 1990). Furthermore, employers have a near monopoly on relevant

information and aggrieved employees must be entitled to broad discovery from the employer to

resolve that inequity. See Barella v. Vill. of Freeport, 296 F.R.D. 102, 105 (E.D.N.Y. 2013) (“In

6
 Although the Plaintiff previously offered to narrow her request to handwritten notes or typed minutes from the
BPO deliberations on PIP renewal, Yale rejected that offer. The Plaintiff renews her original request for complete
personnel files, including notes, minutes, and other data, because the request is within the scope of reasonable
discovery in this case.


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the context of employment discrimination cases, courts favor ‘liberal civil discovery rules,’

giving plaintiffs ‘broad access to employers’ records in an effort to document their claims.’”).

         Given the broad scope of discovery, Yale, as the non-moving party, bears the burden of

showing why Professor Bagley’s request for personnel files and comparative data should be

denied. See Ruran v. Beth El Temple of West Hartford, Inc., 226 F.R.D. 165 (D. Conn. 2005);

Kimbro v. I.C. Sys., Inc., 2002 U.S. Dist. LEXIS 14599, at *2 (D. Conn. Jul. 22, 2002). Yale

cannot meet this burden.

    B. Plaintiff’s Request for Comparative Data is Adequately Narrow in Scope and Well
       Within the Parameters of Reasonable Discovery

         It is well established that a plaintiff may raise an inference of discrimination by showing

that he or she was subjected to less favorable treatment than others who were similarly situated.

See Graham v. Long Island R.R., 230 F.3d 34, 39 (2d Cir. 2000). Courts have recognized that

disclosure of peer review materials is often necessary to determine whether such discriminatory

treatment has occurred. See Univ. of Pennsylvania v. E.E.O.C., 493 U.S. 182, 193 (1990)

(“Indeed, if there is a “smoking gun” to be found that demonstrates discrimination in tenure

decisions, it is likely to be tucked away in peer review files…. ‘[T]he peer review material itself

must be investigated to determine whether the evaluations are based in discrimination and

whether they are reflected in the tenure decision.’”) (quoting E.E.O.C. v. Franklin & Marshall

Coll., 775 F.2d 110, 116 (3d Cir. 1985)).7

         Here, Professor Bagley has requested that Yale produce documents and correspondence

concerning the appointments and reappointments of other PIPs at the SOM, two younger males

7
  In University of Pennsylvania v. E.E.O.C., the Supreme Court rejected a university’s “academic-freedom”
challenge to an EEOC subpoena that sought tenure-review files of a female associate professor who was denied
tenure and five male faculty members who were alleged to have received more favorable treatment. The Court held
that “[a] university does not enjoy a special privilege requiring a judicial finding of a particularized necessity of
access, beyond a showing of mere relevance, before peer review materials pertinent to charges of discrimination in
tenure decisions are disclosed to the EEOC.” 493 U.S. at 182.

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(Shapiro and Bach) who replaced her, and a male (Kyle Jensen) who was chosen to fill a position

for which Professor Bagley applied and was qualified. The discovery Professor Bagley seeks

bears directly on a central issue in this case—her contention that she was treated differently from

similarly situated PIPs, and then replaced by less experienced younger males.

       Professor Bagley’s request is also consistent with what was placed “at issue” by the

Defendants in its defense to the claims asserted in this case. During his deposition, Defendant

Dean Andrew Metrick testified that the BPO was told during deliberations on Plaintiff’s

reappointment that it should use the criteria it has “traditionally used,” including knowledge of

the Faculty Handbook and faculty members’ past experience. See Exhibit F, Metrick Dep. Tr. at

97-98. Professor Bagley is entitled to an opportunity to challenge this assertion and show that

the standards and process followed in her reappointment review is at odds with how the SOM

conducted the reviews and reappointments of other PIPs. Without contemporaneous notes and

meeting minutes from the relevant BPO deliberations, ballots, PIP contract documents, and other

information concerning appointments and reappointments of her comparators, Professor Bagley

cannot fully assess Yale’s alleged non-discriminatory motive for not renewing her appointment.

       Yale’s attempt to shield this comparative data through a boilerplate objection of over

breadth and undue burden is superficial, at best. As the party resisting discovery of the data,

Yale cannot merely recite the “familiar litany” of conclusory objections. Rather, it must

demonstrate “specifically how, despite the broad and liberal construction afforded the federal

discovery rules, each [request] is not relevant or how each question is overly broad, [unduly]

burdensome or oppressive by submitting affidavits or offering evidence revealing the nature of

the burden.” See Breon v. Coca-Cola Bottling Co., 232 F.R.D. 49, 56 (D. Conn. 2005); Culkin

v. Pitney Bowes, Inc., 225 F.R.D. 69, 72 (D. Conn. 2004) (“The question here is not whether ... a



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production would be burdensome to defendant. Clearly, responding to any document [request] is

burdensome to one degree or another. The question, for these purposes, is whether responding ...

would be unduly burdensome.”) (emphasis added)8; see also Ruran, 226 F.R.D. at 168

(plaintiff’s request for “documents reflecting ‘all statements and interviews conducted by the

Defendant relating to the Plaintiff’s allegations’ may be broad, but it is not overly broad”).

Because Yale cannot meet this burden, it should be compelled to disclose the comparative data.

    C. Plaintiff’s Personnel File Must Be Produced Pursuant to This Court’s Order

         On March 21, 2014, the Court ordered the parties to comply with its Initial Discovery

Protocols for Employment Cases Alleging Adverse Action. See Dkt. No. 30. The Protocols

require Yale to produce Professor Bagley’s personnel file, “in any form,” including files

maintained by her “supervisor(s), manager(s), or [Yale’s] human resources representative(s),

irrespective of the relevant time period.” See Protocols, at 4(d). Despite the Court’s Order and

multiple requests from Professor Bagley, Yale has not produced her personnel file in its entirety

or in any form that even approximates a “personnel file.” Accordingly, Professor Bagley

requests that this Court enter an order compelling Yale to immediately produce her complete

personnel file.

    D. Disclosure of Relevant Portions of the Comparators’ Personnel Files is Permitted
       and Necessary

         Yale’s objection to the disclosure of the personnel files of Professors Frank Fabozzi,

Jeffrey Garten, Stanley Garstka, Roger Ibbotson, Thomas Kolditz, Loretta Mester, Rakesh

Mohan, Jeffrey Sonnenfeld, Ian Shapiro, David Bach, and Kyle Jensen should not stand because

Professor Bagley’s request falls within the ambit of an exception to the general rule prohibiting

8
  See Dkt. 131, Ruling on Defendants’ Motion for Protective Order [Doc. 108] at 15 (“The sense of irritated
resignation conveyed by the familiar aphorism – ‘it's like looking for a needle in a haystack’– does not exclude the
possibility that there may actually be a needle (or two or three) somewhere in the haystack, and sharp needles at that.
Plaintiff is presumptively entitled to search for them.”) (Haight, J.).

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unauthorized disclosure of personnel files, and because Professor Bagley’s need for disclosure of

the files outweighs any privacy interests at issue.

       The Connecticut Personnel Files Act, Conn. Gen. Stat. §31-128f, generally requires an

employee’s written consent for release of information from his or her personnel file. However,

an exception is recognized where the personnel file is disclosed “pursuant to a lawfully issued

administrative summons or judicial order, including a search warrant or subpoena, or in response

to … the investigation or defense of personnel-related complaints against the employer.” See

Conn. Gen. Stat. §31-128f(2); see Culkin, 225 F.R.D. at 73 (“pursuant to a lawfully issued

judicial order, an employer need not obtain the employee’s authorization” prior to disclosing his

or her personnel file); see also E.E.O.C. v. Beauty Enterprises, Inc., 2008 WL 3359252, at *6

(“While personnel files should not be produced normally in discovery, they are highly relevant to

a plaintiff’s claims in an employment discrimination case.”).

       Courts within the Second Circuit have repeatedly applied this exception to permit

disclosure of personnel file information. See Sperling v. Harman Int’l Indus., Inc., 2011 U.S.

Dist. LEXIS 103455, *2-3 (E.D.N.Y. Sept. 14, 2011) (ordering disclosure of personnel files of

“younger and allegedly less-qualified employees to whom [plaintiff’s] job functions were

distributed”); Duck v. Port Jefferson Sch. Dist., 2008 U.S. Dist. LEXIS 39695 (E.D.N.Y. May

14, 2008) (ordering disclosure of employment records plaintiff believed “could yield evidence of

whether male coaches were subjected to the same requirements as their female counterparts”);

Gibbs v. Am. Sch. for the Deaf, 2007 U.S. Dist. LEXIS 25036 , *3-*4 (D. Conn. April 4, 2007)

(“Judges in this District have repeatedly recognized that when personnel information … is

necessary and relevant to a case, a court may order limited disclosure of that information

consistent with the dictates of § 31-128f”); Chamberlain v. Farmington Savings Bank, 247



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         Case 3:13-cv-01890-CSH Document 136 Filed 09/15/15 Page 10 of 26



F.R.D. 288, 291 (D. Conn. 2007) (ordering production of “comparative information” in

personnel files concerning defendant’s treatment of other management level employees); Ruran,

226 F.R.D. at 169 (ordering disclosure of personnel files after finding they were relevant to

plaintiff’s claim of disparate treatment)9; see also Cost Mgmt. Incentives, Inc. v. Civil Theradex

Sys., 2007 U.S. Dist. LEXIS 0241 (D. Conn. March 21, 2007) (ordering disclosure of personnel

file of former employee because the file was “relevant to the issues” in the lawsuit).

        Here, the matter before the Court falls within the scope of the exception to the general

rule prohibiting disclosure of personnel files, and there is no question that the information

Professor Bagley seeks is relevant. The personnel files contain appointment and reappointment

information regarding eight of her comparators, all of whom were similarly situated in that they

held the position of PIP at the SOM. The material in the files will show whether PIPs with lesser

qualifications were offered reappointment or whether an entirely different process and set of

standards were used to assess their eligibility for renewal. This information is critical to

establishing a pattern of discrimination or otherwise revealing discriminatory intent and pretext.

        Furthermore, Professor Bagley’s need for disclosure of the personnel files outweighs any

privacy concerns at issue because Yale is Professor Bagley’s only source for the information in

those files. Any concerns Yale has regarding privacy with respect to these files can easily be

addressed through reasonable redactions of sensitive information (such as social security

numbers and medical information) and adherence to the court-approved protective order to

which Professor Bagley has already agreed.10 Therefore, Yale should be compelled to produce


9
  The Ruran Court stated: “others’ personnel files are certainly relevant to Mr. Ruran’s claim of disparate treatment
under the ADEA--for, a claim of disparate treatment begs the question: ‘Disparate to what?’” 226 F.R.D. at 169.
Based on its finding of relevance, the court entered an order compelling production of the documents, triggering the
exception to the general rule prohibiting disclosure.
10
   See Sperling, 2011 U.S. Dist. LEXIS 103455, at *4 (“in most cases, a protective order can ‘appropriately remedy
privacy concerns arising from discovery of personnel records.’”)


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             Case 3:13-cv-01890-CSH Document 136 Filed 09/15/15 Page 11 of 26



      all remaining information from the comparators’ files.

II.      CONCLUSION

             For the foregoing reasons, Plaintiff respectfully requests that this Court order Yale to

      produce documents referenced in Schedule A, and that the order provide Yale a reasonable time

      to produce these documents but nonetheless on a date certain.

             Plaintiff further requests attorneys’ fees for the costs of bringing this Motion, and any

      other relief this Court deems equitable and just.

                                                               Respectfully Submitted,
                                                               Constance E. Bagley
                                                               BY HER ATTORNEYS,

                                                               /s/ Laura R. Studen
                                                               Laura R. Studen, Esq.
                                                               lstuden@burnslev.com
                                                               Neerja Sharma, Esq.
                                                               nsharma@burnslev.com
                                                               Carla A. Reeves, Esq.
                                                               creeves@burnslev.com
                                                               Burns & Levinson LLP
                                                               125 Summer Street
                                                               Boston, MA 02110
                                                               617-345-3000
             Dated: September 15, 2015




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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on September 15, 2015, a copy of the foregoing was electronically
filed and served by mail on anyone unable to accept electronic filing. Notice of this filing will
be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail to
anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF system.

                                      /s/ Laura R. Studen
                                      Laura R. Studen


4819-1132-1123.6




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   EXHIBIT A
      Case 3:13-cv-01890-CSH Document 136 Filed 09/15/15 Page 14 of 26




                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT
__________________________________________
                                           )
CONSTANCE E. BAGLEY,                       )
                                           )
            Plaintiff                      )
                                           )
      v.                                   ) Civil Action No. 3:13-cv-01890 (CSH)
                                           )
YALE UNIVERSITY, DOUGLAS                   )
RAE, EDWARD SNYDER, AND                    )
ANDREW METRICK, Individually,              )
                                           )
            Defendants.                    )
__________________________________________)

                                  DOCUMENT REQUESTS

       All of the following requests are for the period 1983 to the present, and relate solely to

the position of a Professor in the Practice (PIP) within the Yale School of Management:

   1. Plaintiff’s complete personnel file within the meaning of Connecticut Personnel Files

       Act, Conn. Rev. Stat. § 31-128a(3);

   2. The personnel files of Frank Fabozzi, Jeffrey Garten, Stanley Garstka, Roger Ibbotson,

       Thomas Kolditz, Loretta Mester, Rakesh Mohan, Jeffrey Sonnenfeld, Ian Shapiro, David

       Bach and Kyle Jensen;

   3. For each of the foregoing persons, produced in separately identified files by individual:

             a. all internal and external correspondence (including, without limitation, emails)

                pertaining to or relating to the recruitment of each individual to the SOM;

             b. all documents relating to negotiations, offers, and agreements (including drafts)

                expressing the terms of the initial appointment to the position of a PIP within

                the SOM, and for each subsequent term of reappointment;

             c. all Committee reports and communications by and between Committee

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        members appointed to review the candidate with the Board of Permanent

        Officers (BPO) members, the Dean’s office, and the Office of the Provost

        regarding the candidacy of each individual for an initial PIP appointment, and

        for consideration of a subsequent term of reappointment ;

     d. all documents presented to the BPO in advance (or made available at the

        meeting) relating to each candidate’s presentation to the BPO for its

        consideration for an initial PIP appointment, and for any subsequent meetings

        relating to the consideration of an additional term of reappointment;

     e. all handwritten notes (with the identity of the note taker prominently indicated)

        and minutes of the BPO meeting at which the candidate was presented for initial

        appointment and for any subsequent meetings relating to consideration of an

        additional term of reappointment;

     f. all communications by and between any BPO member and the Dean’s Office,

        and between the Dean’s Office with the Office of the Provost, concerning each

        individual’s appointment, or reappointment, as a PIP;

     g. all documents evidencing who was in attendance at each meeting of the BPO at

        which the candidate was presented for initial appointment and for any

        subsequent meetings relating to consideration of an additional term of

        reappointment;

     h. all ballots reflecting votes taken on the appointment or reappointment to the

        position of a PIP;

     i. communications submitted to The Yale Corporation concerning the

        appointment or reappointment of any PIP;



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                   j. any other documents or data concerning committee recommendations,

                      deliberations, and decisions related to the appointment or reappointment of

                      PIPs; and

                   k. any and all documents or data relating to the recruitment, negotiations, hiring,

                      contracts or agreements regarding assignment as a faculty member within the

                      SOM, together with all performance reviews or assessments (formal and

                      informal, by faculty, students or alumni) of Ian Shapiro, David Bach, and Kyle

                      Jensen.
4838-3872-2856.1




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   EXHIBIT B
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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT
__________________________________________
                                          )
CONSTANCE E. BAGLEY,                      )
                                          )
            Plaintiff                     )
                                          )
      v.                                  )   Civil Action No. 3:13-cv-01890
                                          )
YALE UNIVERSITY, DOUGLAS                  )
RAE, EDWARD SNYDER, AND                   )
ANDREW METRICK, Individually.             )
                                          )
            Defendants.                   )
__________________________________________)


                       PROPOUNDED ON DEFENDANT YALE UNIVERSITY

           Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and Local Rule 26,

the Plaintiff, Constance E.                                                          , hereby requests that all

documents and tangible things described below be produced for inspection or copying, within

thirty (30) days from the date of this request, at the offices of Burns & Levinson LLP, 125

Summer Street, Boston, Massachusetts 02110. This request is intended to supplement, and not

replace, the document production expressly mandated by the Initial Discovery Protocols for

Employment Cases Alleging Adverse Action endorsed by the Court in this action.1 See Dkt. 30.

                                                  TIME FRAME

           Unless otherwise specified, the time period governing the below Requests is January of

2006 to the present.



1
    This Protocol already requires Defendants to produce, inter alia, documents concerning the formation and


lawsuit. Plaintiff notes that certain Requests contained herein may be more specific requests that fall within the
categories required by the Protocol.

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   EXHIBIT C
          Case 3:13-cv-01890-CSH Document 136 Filed 09/15/15 Page 20 of 26




                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT
__________________________________________
                                          )
CONSTANCE E. BAGLEY,                      )
                                          )
            Plaintiff                     )
                                          )
      v.                                  )   Civil Action No. 3:13-cv-01890
                                          )
YALE UNIVERSITY, DOUGLAS                  )
RAE, EDWARD SNYDER, AND                   )
ANDREW METRICK, Individually.             )
                                          )
            Defendants.                   )
__________________________________________)

                        SECOND FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
                       PROPOUNDED ON DEFENDANT YALE UNIVERSITY

           Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and Local Rule 26,



documents and tangible things described below be produced for inspection or copying, within

thirty (30) days from the date of this request, at the offices of Burns & Levinson LLP, 125

Summer Street, Boston, Massachusetts 02110. This request is intended to supplement, and not

replace, the document production expressly mandated by the Initial Discovery Protocols for

Employment Cases Alleging Adverse Action endorsed by the Court in this action.1 See Dkt. 30.

                                                  TIME FRAME

           Unless otherwise specified, the time period governing the below Requests is January of

2006 to the present.



1
    This Protocol already requires Defendants to produce, inter alia, documents concerning the formation and
                                            personnel file, evaluations, workplace policies and codes of conduct,

lawsuit. Plaintiff notes that certain Requests contained herein may be more specific requests that fall within the
categories required by the Protocol.

                                                           1
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   EXHIBIT D
      Case 3:13-cv-01890-CSH Document 136 Filed 09/15/15 Page 22 of 26




                                          REQUESTS
Request No. 43

All drafts of the report produced as a result of the 2014 Diversity Summit at Yale, including any

revisions made by Yale management prior to its publication.

Request No. 44

All documents or communications provided by SOM Deans or any other individual to President

                                                2012 request for provostial review of the

decision not to renew her contract.

Request No. 45

All documents and communications relating to any decision or recommendation by the

University-Wide Committee on Sexual Misconduct concerning an allegation or incident of

sexual misconduct that was overturned or reversed by Yale management.

Request No. 46

Any and all complaints of harassment, discrimination, or retaliation against Dean Snyder, Dean

Metrick, or Professor Rae, including any communications relating thereto.

Request No. 47

The complete personnel file of any individual appointed to the rank of Professor in the Practice

at Yale SOM, including any meeting minutes, notes, ballots, or other data relating to any meeting

of the BPO at which a discussion or vote of appointment renewal occurred.

Request No. 48

                                                                 -stamped document YU003170.

Request No. 49

All emails to and from the e-mail account eas@yale.edu                         referencing or

concerning Professor Bagley.

                                                5
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   EXHIBIT E
               Case 3:13-cv-01890-CSH Document 136 Filed 09/15/15 Page 24 of 26




Hi Emily,

Attached please find a privilege log related to President Salovey’s ESI.

Also, it’s my understanding that you received a disc from Ricoh today. This disc contains documents in response to
Request for Production No. 22.

Matt

~~~~~~~~~~~~~~~~~~~~~~~~~
Matthew H. Geelan, Esq.
Donahue, Durham & Noonan, P.C.
741 Boston Post Road
Suite 306
Guilford, CT 06437
(203) 458-9168 - Phone
(203) 458-4424 – Fax

From: Matt Geelan
Sent: Friday, April 10, 2015 9:19 AM
To: 'Emily J. Nelson'
Subject: RE: Document Production (Bagley v Yale)

Hi Emily,

I just wanted to touch bases with you about a few outstanding matters:

    (1) I will be sending you a privilege log related to President Salovey’s ESI a little later today.

    (2) I am working on the privilege log for Dean Snyder’s confidential email account. I will try to get it done today, but
        it may not be ready until early next week.

    (3) As to the plaintiff’s request for BPO notes and contracts regarding other PIPs at SOM, Yale intends to pursue its
        object to this request. Even though the plaintiff has narrowed this request, it nonetheless seeks private
        information about individuals who are not parties to this lawsuit. As a result, Yale believes that it needs to
        protect this information. In addition, the request is overly broad and burdensome.

    (4) You should be receiving a disc from Ricoh on Monday containing documents in response to Request for
        Production No. 22.


Please let me know if you have any questions.

Matt

~~~~~~~~~~~~~~~~~~~~~~~~~
Matthew H. Geelan, Esq.
Donahue, Durham & Noonan, P.C.
741 Boston Post Road
Suite 306
Guilford, CT 06437
(203) 458-9168 - Phone
(203) 458-4424 – Fax

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    EXHIBIT F
      Case 3:13-cv-01890-CSH Document 136 Filed 09/15/15 Page 26 of 26



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